     JEFFRY K. FINER
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5                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF WASHINGTON
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8       UNITED STATES,                             )
                                                   )   NO. CR 11-159-RHW
9
                        Plaintiff,                 )
10                                                 )   DECLARATION OF
          v.                                       )   COUNSEL IN SUPPORT
11                                                 )   OF DEFENDANT’S MOTION
12
        DORIS NELSON,                              )   TO VACATE CONVICTION
                                                   )   PURSUANT TO 28 U.S.C.
13                      Defendant.                 )   § 2255
14

15   Jeffry K. Finer declares under penalty of perjury:

16   1. I am counsel of record for Ms. Nelson’s sentencing and her appeal.
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     2. The following attachments are true and correct copies of documents filed
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     in the original criminal prosecution that I am providing for the ease of the
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20   Court and parties’ access, or unfiled documents located from the former

21   attorneys’ files turned over to me when Ms. Elizabeth Kelley and I
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     substituted in before sentencing in 2014.
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     DECLARATION OF COUNSEL • Page 1
     3. In preparing the motion for Ms. Nelson, I read to her the entirety of the
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2    motion and her affidavit and obtained her permission to file these records for

3    her. Her signature evidencing her oath pursuant to penalty of perjury is
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     delayed, however, due to tight restrictions at Aliceville FCI for offender
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     notary services. I understand that her notarized signature will be
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     forthcoming.

8    4. On or about July 9, 2014, I met separately with Mr. Bugbee and with Mr.
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     Ryan to discuss the handover of their files. Present with me was my intern,
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     Chloe Yates, to assist and to witness the discussions. I did not have script
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     per se but I intended to ask both lawyers about the reason for the plea to the

13   110 counts and why no agreement was obtained from the United States.
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     5. I met with Mr. Bugbee first. He stated to me, in response to my direct
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     question, that there likely were winnable counts in the case. He did not
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     identify which he thought these were by number but referred to them as the

18   “early" counts. He did not say how many early counts he felt in the
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     potentially winnable group. I brought up the question whether the failure of
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     proof was strong enough to win a Rule 29 motion and Mr. Bugbee said it
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     was possible but we did not discuss the Rule further. The conversation
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23   turned to mens rea, the government’s weakest allegation. Mr. Bugbee noted
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     DECLARATION OF COUNSEL • Page 2
     that the defendant had both supporters and detractors. Mr. Bugbee stated that
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2    the mens rea problems were the strongest defense to the early counts.

3    6. That evening I drafted an affidavit based on the interview, to support the
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     motion to withdraw the defendant’s plea, and included the matters Mr.
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     Bugbee and I had discussed.
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     7. I next met with Mr. Ryan and had a much shorter meeting. I was able to

8    ask whether he felt Ms. Nelson had a defense to any of the charges based on
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     mens rea challenges to the government’s evidence. Mr. Ryan’s response was
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     “well sure” but he questioned in broad terms whether winning a few of the
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     counts justified trial. I asked whether some of the counts could have been

13   subject to Rule 29 and he responded only that the jury would still get sticker
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     shock (my term, I believe, but Mr. Ryan agreed when I used the phrase).
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     Before I left I looked over the draft affidavit for Mr. Bugbee and determined
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     that I had each point covered by both attorneys and that they were largely in

18   concert. Mr. Ryan added that the “Ponzi business” was going to have impact
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     with the jury. It seemed to me that Mr. Ryan endorsed the idea that the
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     offense was a Ponzi scheme.
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     8. Both attorneys spoke with me about government interference in the case,
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23   claiming that favorable witness were scared away both by threats from the
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     DECLARATION OF COUNSEL • Page 3
     United States and by the Bankruptcy claw back process which stripped away
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2    payments by Ms. Nelson to lawyers and investors. I recall asking whether

3    this interference was another reason for the plea straight up but did not get
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     an answer. Both stated that witnesses that had been approachable stopped
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     working with them after the United States warned the witnesses to not
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     involve themselves. Either Mr. Ryan or Mr. Bugbee told me that the

8    investigator had the same impression. In addition, some witnesses stated to
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     defense counsel or the investigator they were forbidden by the Trustee from
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     ex parte contacts with key witnesses. The two attorneys described a situation
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     of being hamstrung, or of their investigator being hamstrung, but I do not

13   remember which attorney actually used that word, and it may be that only
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     one of them actually said “hamstrung.” They both told me that the
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     investigator had been blocked multiple times.
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     9.    Both attorneys responded when I asked if the Ponzi focus in the

18   bankruptcy process was prejudicing the criminal case, telling me it was a
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     term they did not want the jury to hear. Whether the case was actually a
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     Ponzi was not a concern, except that the Ponzi aspects were not present at
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     onset of the business. I asked if the Ponzi element as found in the bankruptcy
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23   was a problem in the criminal case. Mr. Bugbee was non-committal and Mr.
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     DECLARATION OF COUNSEL • Page 4
     Ryan said it should not be connected. Ryan did not believe think I would get
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2    useful information from Mr. Lysiak. I did not ask Mr. Bugbee about Mr.

3    Lysiak or about the experts Rice and Romney.
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     10.   I next drafted Mr. Ryan’s affidavit based on his interview, using Mr.
5
     Bugbee’s as a template.
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     11.   I delivered editable versions in digital form to each lawyer so each

8    could review his own affidavit and make corrections.
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     12.   When they returned the affidavits, edits had been made that altered in
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     a material fashion what I had been told only a few days before. Both
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12
     attorneys dropped references from the drafted affidavits to exclude

13   discussion of Rule 29 possibilities and dropped discussion of the weakness
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     of the Ponzi evidence, in particular the lack of Ponzi activity early on in the
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     operations. I.e, see Bugbee and Ryan Drafted Affidavits at ¶ 3(c) compared
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     to their filed version, Attachments 41, 42. Whereas my interview included a

18   discussion about the Ponzi problem in the government’s case, the affidavits
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     scrubbed counsels’ remarks.
20
           DATED this 12th day of September, 2017.
21
                                                   s/Jeffry K. Finer
22
                                                Jeffry K. Finer, WSBA No. 14610
23                                              Attorney for Defendant
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     DECLARATION OF COUNSEL • Page 5
1
                           CERTIFICATE OF SERVICE
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        I, Danette Lanet, certify that on the 12th day of September 2017, I caused
3    the foregoing Declaration of Counsel to be filed via CM/ECF, which will
     send notification of such filing to the following:
4

5          Caitlin Baunsgard, AUSA
           Elizabeth Kelley
6          Gregg Smith
7
           James Goeke, AUSA

8       DATED this 12th day of September, 2017.
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10                                                          s/Danette Lanet

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